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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                 Case No. CR-21-314-RAW

BRENDA BURDUE SAVAGE,

       Defendant.



                                             ORDER

       This action arises from the death of Bart Jameson on or about January 30, 2019. The

Indictment charges the Defendant with: (1) second degree murder in Indian Country, in violation

of 18 U.S.C. §§ 1111(a), 1151, and 1152; (2) use, carry, brandish, and discharge of a firearm

during and in relation to a crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A); and (3)

causing the death of a person in the course of a violation of 18 U.S.C. § 924(c), in violation of 18

U.S.C. § 924(j)(1). The Indictment also include a forfeiture allegation.

       Before the court is the Government’s motion to exclude the testimony of defense expert

Rebecca Miller filed on November 18, 2021 [Docket No. 71]. Ms. Miller is a SANE nurse with

experience working with law enforcement and prosecutors in sexual assault cases. The

Government was informed of her anticipated expert testimony regarding “date rape” drugs,

including her training in identifying cases where such drugs were administered, what they are,

why they would be given to an individual, and the effects of such a drug.

       The Government argues that after requests for discovery pursuant to Rule 16 and even

after defense counsel agreed in open court before the United States Magistrate Judge to provide
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Ms. Miller’s expert report, the Government has yet to receive any report by Ms. Miller. The

Government further argues that Ms. Miller’s testimony would be irrelevant in this case because

(1) there is no evidence of sexual assault, (2) voluntary intoxication is not a defense to second

degree murder, * and (3) Ms. Miller lacks the expertise to opine on involuntary intoxication.

       On November 19, 2021, the Defendant filed under seal Ms. Miller’s two-page CV and

her eight-page report and opinion. Docket No. 83-1. The Defendant filed her response on

November 26, 2021. The defense argues that Ms. Miller’s testimony is relevant because she

viewed hours of recorded evidence to understand how the Defendant’s behavior changed during

the times in question and interviewed the Defendant to determine things that she remembered

from that night to find common identifiers of being drugged or identify if there was an

opportunity to be drugged. The defense intends to use Ms. Miller’s testimony to show that the

Defendant was at least possibly involuntarily intoxicated with a date rape drug at the time of the

shooting.

       Ms. Miller report shows that her testimony may be relevant in determining whether the

Defendant was involuntarily intoxicated. The court agrees that this case is distinguishable from

United States v. Bindley, 157 F.3d 1235 (10th Cir. 1998). In that case, the defendant testified

that his illegal marijuana cigarette had likely been laced with another drug. The Tenth Circuit

held that he could not argue involuntary intoxication “because, by voluntarily choosing to smoke

the marijuana cigarette, any resulting intoxication (whatever that may have been) was likewise

voluntary.” Id. at 1243. Here, the Defendant does not argue that her legally consumed drink was

already laced with anything. She intends to present testimony that Patrick Dunlap, Truman

Kenietubbe, and Bart Jameson may have drugged her.


*
 The Government is correct that voluntary intoxication is not a defense to second degree murder.
See United States v. Headman, 594 F.3d 1179, 1188 (10th Cir. 2010).
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  The Government’s motion [Docket No. 71] is DENIED.

  IT IS SO ORDERED this 10th day of January, 2022.



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                                   THE HONORABLE RONALD A. WHITE
                                   UNITED STATES DISTRICT JUDGE
                                   EASTERN DISTRICT OF OKLAHOMA




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